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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DON E. LEWIS                                                                                PLAINTIFF

V.                                  CASE NO. 4:21-cv-01180 JM

BEASLEY, et al.                                                                          DEFENDANTS

                                               ORDER
        Plaintiff Don E. Lewis filed this pro se 42 U.S.C. § 1983 action against multiple

Defendants in Texarkana, Arkansas. (Doc. 2). Based on the facts alleged and the

Defendants named, it appears that venue properly lies in the United States District Court

for the Western District of Arkansas. 28 U.S.C. § 1391(b). Accordingly, the Court finds

that the interests of justice would best be served by transferring this case to the United

States District Court for the Western District of Arkansas. 28 U.S.C. § 1406(a).1

        The Clerk of the Court is directed to immediately transfer Lewis’s entire case file

to the United States District Court for the Western District of Arkansas.

        IT IS SO ORDERED this 7th day of December, 2021.



                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE




1
  “The district court of a district in which is filed a case laying venue in the wrong division or
district shall dismiss, or if it be in the interest of justice, transfer such case to any district or division
in which it could have been brought.” Id.
